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9                            UNITED STATES DISTRICT COURT

10                          EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,           ) 1:06-CR-00365-LJO-BAM
                                         )
12                     Plaintiff,        ) AMENDED ORDER FOR
                                         ) FORFEITURE MONEY JUDGMENT
13        v.                             )
                                         )
14   ABDEL BASET JAWAD, and              )
     ABDUL MUNIEM MOHAMAD JAWAD,         )
15                                       )
                       Defendants.       )
16                                       )
17       Based upon the United States’ Application for Forfeiture Money

18   Judgment [Doc. 329-1], and the testimony and other evidence at the

19   trial in this case,

20       IT IS HEREBY ORDERED that:

21       1.    Defendants Abdel Baset Jawad and Abdul Muniem Mohamad Jawad

22   shall forfeit to the United States the sum of $601,075.95, and the

23   Court imposes a personal forfeiture money judgment against defendants

24   in that amount.    The Court determines that the evidence supports a

25   money judgment in the amount of $601,075.95 in this case.

26       2.    Payment of the personal forfeiture money judgment should be

27   made in the form of a cashier’s check made payable to the U.S.

28   Marshals Service and sent to the U.S. Attorney’s Office, Attn:           Asset

29
                                                    [Proposed] Amended Order for
30                                           1      Forfeiture Money Judgment
                             Case 1:06-cr-00365-LJO-BAM Document 333 Filed 10/02/13 Page 2 of 2


1    Forfeiture Unit, 2500 Tulare Street, Suite 4401, Fresno, CA 93721.

2    Any funds applied towards such judgment shall be forfeited to the

3    United States of America and disposed of as provided by law.                                  Prior

4    to the imposition of sentence, any funds delivered to the United

5    States to satisfy the personal money judgment shall be seized and

6    held by the U.S. Marshals Service, in its secure custody and control.

7                             3.    This Order of Forfeiture shall become final as to the

8    defendant at the time of sentencing and shall be made part of the

9    sentence and included in the judgment.

10                            4.    The United States may, at any time, move pursuant to Rule

11   32.2(e) to amend this Order of Forfeiture to substitute property

12   having a value not to exceed $601,075.95 to satisfy the money

13   judgment in whole or in part.
                         UNITED STATES DISTRICT JUDGE
14
     IT IS SO ORDERED.
15

16                         Dated:   October 1, 2013                  /s/ Lawrence J. O’Neill
                                                              UNITED STATES DISTRICT JUDGE
17
     DEAC_Signature-END:




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                                                                           [Proposed] Amended Order for
30                                                               2         Forfeiture Money Judgment
